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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3 AMMIANUS POMPILIUS aka Anthony                       Case No.: 2:18-cv-01801-APG-VCF
   Prentice,
 4                                                    Order Granting Motion to Extend Time
          Plaintiff                                               to File Reply
 5
   v.                                                               (ECF No. 30)
 6
   STATE OF NEVADA, et al.,
 7
          Defendants
 8

 9         Plaintiff Ammianus Pompilius’s motion for extension of time to file reply (ECF No. 30)

10 is granted. Pompilius’s reply in support of his motion for preliminary injunction (ECF No. 15)

11 is due by August 16, 2020.

12         Dated: July 17, 2020.

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                                                      ANDREW P. GORDON
                                                      UNITED STATES DISTRICT JUDGE
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